                   Case 4:91-cr-00176-LGW-CLR Document 1492 Filed 06/26/15 Page 1 of 1
A0247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to IS U S C. § 3582(c)(2)
                                                                             .   .                   Page I of 2 (Page 2 Not for Public Disclosure)


                                                          UNITED STATES DISTRICT COURT
                                                                                                                             U.S.         F"11 ED
                                                                                     for the                                      S4 TJ/J T CO URT
                                                                  Southern District of Georgia
                                                                      Savannah Division                                              JUN 2b Jul
                       United States of America
                                                                                       )                             CL rp
                                        V.
                                                                                       )
                                                                                       )   Case No: 4:91CR0 0 l 76i TQG                                  —__..
                             Levon Bazemore                                            )   USM No: 07654-021
                                                                                       )
Date of Original Judgment:         June 26, 1992                                       )   Richard Darden
Date of Previous Amended Judgment:                                                     )   Defendant's Attorney
(f/se Date of Last Amended Judgment,    (f an))

                                         Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


           Upon motion of EXthe defendant [lithe Director of the Bureau of Prisons Ejithe court under 18 U.S.C.

§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 113 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
     DENIED. EjGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
issued) of life plus 60 months is reduced to 322 months (262 months as to Ct 1 and 12 months as to Ct 3, to be served
                                                                    concurrently plus a consecutive 60 months as to Ct 2).


                                                   (Complete Parts / and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                                        1992           shall r main in effect.
IT IS SO ORDERED.

Order Date:
                                                                                                                   Judge ~ signature



                                                                                           Dudley H. Bowen, Jr.
Effective Date: November 1, 2015                                                           United States District Judge
                        (if duferent from order date)                                                           Printed name and title
